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                            UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA
                                   CENTRAL DIVISION


 TAYVIN GALANAKIS,                                    No. 4:23-cv-00044-SHL-SBJ
      Plaintiff,

 v.

 CITY OF NEWTON, IOWA, ROB                          BRIEF IN SUPPORT OF DEFENDANTS’
 BURDESS, NATHAN WINTERS,                           MOTION FOR SUMMARY JUDGMENT
 CHRISTOPHER WING, individually and in
 their official capacities with the Newton Police
 Department,
         Defendants.


 NATHAN WINTERS and CHRISTOPHER
 WING,
       Defendants/Counterclaim Plaintiffs,

 v.

 TAYVIN GALANAKIS,
      Plaintiff/Counterclaim Defendant.             Removed from the District Court for
                                                    Jasper County, Iowa, No. LACV123038

         Under Rule 56 of the Federal Rules of Civil Procedure and Local Rule 56.a.2., Defendants

City of Newton, Iowa (the “City”), Chief Rob Burdess, Officer Nathan Winters, and Lieutenant

Christopher Wing (collectively, “Defendants”) submit this Brief in support of their Motion for

Summary Judgment.




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                                     I. INTRODUCTION

       Because the consequences can be deadly, the Iowa Supreme Court considers the crime of

operating while intoxicated (“OWI”) in violation of Iowa Code section 321J.2 to be “a relatively

serious crime within the spectrum of prohibited acts in Iowa.” State v. Lovig, 675 N.W.2d 557,

565 (Iowa 2004).

       Here, after Officer Winters stopped Plaintiff Tayvin Galanakis (“Galanakis”) for illegally

driving with his bright lights on, Galanakis showed several signs that he was impaired and under

the influence of drugs or alcohol. He was unable to produce his license, registration, and proof of

insurance without Officer Winters’s help, he failed several properly administered field sobriety

tests, he told Officer Winters he could not remember the last time he smoked marijuana, he

inaccurately told Officer Winters that he was drug tested every Friday, and he made several

antagonizing comments toward Officer Winters throughout the stop. Altogether, this provided at

least arguable probable cause to believe Galanakis committed OWI in violation of Iowa Code

section 321J.2.

       Accordingly, based on the material undisputed facts, the Court should grant Officer

Winters, Lieutenant Wing, and Chief Burdess summary judgment on the basis of federal and state

qualified immunity. The Court should also grant the City summary judgment because there is no

evidence to support Galanakis’s claims against the City under 42 U.S.C. § 1983 or Iowa law, and

the City is otherwise immune from liability under Iowa Code section 670.4A.2.

                        II. SUMMARY OF BACKGROUND FACTS

       The Defendants incorporate the facts included in their Statement of Material Facts and

provide the following summary of the background facts.

       On August 28, 2022, at approximately 12:13 a.m., Officer Winters was on active duty




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patrol in a Newton Police Department vehicle with Lieutenant Wing when Winters stopped

Plaintiff Tayvin Galanakis (“Galanakis”) for operating his vehicle with the bright lights on in

violation of Iowa Code section 321.415. Statement of Material Fact (“SOF”) No. 5.

        Officer Winters’s Request for License, Registration, and Proof of Insurance

       When Officer Winters approached Galanakis’s driver’s side window, he asked Galanakis

to provide his driver’s license, vehicle registration, and proof of automobile insurance. SOF No.

6. Galanakis was unable to do this on his own. See SOF Nos. 6–11. He first produced two

documents and asked Officer Winters, “is it one of these?” SOF No. 7. Officer Winters responded,

“that’s the registration,” but Galanakis could not determine which of the registration documents

was current and expired. Id. So eventually, Galanakis tells Officer Winters, “I’ll just give you

both of them.” Id. Officer Winters accepted the current registration and did not take Galanakis’s

expired registration. Id. Only after this did Galanakis realize which of the two registrations was

expired. Id.

       After Galanakis finally provided his registration, Officer Winters had to remind Galanakis

to provide proof of insurance by asking him a second time. SOF No. 9. Similar to Galanakis’s

inability to provide his registration on his own, he asked Officer Winters, “would it be that white

card?” SOF No. 10. Then, Galanakis produced proof of insurance that expired in 2021. Id. When

Officer Winters told Galanakis that the proof of insurance “expired in ’21,” Galanakis showed

Officer Winters an email on Galanakis’s phone that provided proof of insurance. Id. It took about

3 minutes from Officer Winters’s first request for Galanakis’s license, registration, and proof of

insurance for Galanakis to produce these things. SOF Nos. 6–11.

       Once Officer Winters collected Galanakis’s license, registration, and proof of insurance,

he asked Galanakis to remove his chewing gum, exit his vehicle, and accompany Officer Winters




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to his Newton Police Department vehicle, and Galanakis complied. SOF No. 12. At least three

air fresheners were hanging from Galanakis’s rear-view mirror. SOF No. 13.

                                           Galanakis’s Eyes

        Galanakis’s eyes were watery and bloodshot. SOF No. 14. So in Officer Winters’s police

vehicle, Officer Winters asked Galanakis why his eyes were watery and bloodshot, and Galanakis

said, “I got contacts.” SOF No. 14. However, later, Galanakis informs Officer Winters that he is

not wearing his contacts. SOF No. 15.

                         Galanakis’s Walk-and-Turn Field Sobriety Test

        Officer Winters and Galanakis eventually exited Officer Winters’s police vehicle, and

Officer Winters had Galanakis perform several field sobriety tests. SOF No. 17. One of the tests

was a walk-and-turn test. SOF No. 18. For this test, Officer Winters and Galanakis selected a

straight line, and Officer Winters instructed Galanakis to stand on the line with his left foot on the

line and his right foot in front of his left foot, with the heel of his right foot touching the toe of his

left foot. SOF No. 19–21. Officer Winters then instructed Galanakis to take “9 heel-to-toe steps,

touching heel to toe each time” and “keeping [his] arms down to [his] side.” SOF No. 22. Officer

Winters also demonstrated how to do this. Id. Continuing with the instructions, Officer Winters

told Galanakis that “when you get to your ninth step, leave your front foot on the line, turn by

taking a series of small steps, turn and take 9 heel-to-to steps back. SOF No. 23. Officer Winters

also instructed Galanakis to “count [his] steps out loud.” SOF No. 24.

        Before Galanakis began the walk-and-turn test, Officer Winters asked him if he had any

problems with his ankles, knees, hips, or back, and Galanakis confirmed that he could perform the

walk-and-turn test without any physical trouble. SOF Nos. 25–27, 36.

        Galanakis failed the walk-and-turn test in several ways. SOF Nos. 19–38. Contrary to




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Officer Winters’s instructions, Galanakis did not count his steps out loud, and instead of keeping

track of his own steps, Galanakis told Officer Winters to “tell me when I get to 9.” SOF. Nos. 29–

30. Further, for both the first and second sets of 9 steps, Galanakis took well over 9 steps. SOF

Nos. 31–35. He took 14 steps and 15 steps, respectively, by Officer Winters’s count. Id. And

before he performed the turn part of the test, had had to ask Officer Winters, “how do I turn?”

SOF No. 33.

       When Officer Winters asked Galanakis, “how many steps did I say to take,” Galanakis

incorrectly said “like 8 or 9.” SOF No. 37. And when Officer Winters asked, “why’d you take 14

and then 15” steps, Galanakis incorrectly said, “I thought you were going to tell me when to turn.”

SOF No. 38.

                        Galanakis’s One-Leg Stand Field Sobriety Test

       Galanakis also performed a one-leg stand test. SOF No. 39. As Officer Winters was

instructing Galanakis on how to perform the one-leg stand test, Galanakis interjected, “you a

rookie bro.” SOF No. 40. He then asked, “this your first year,” and “how many false accusations

you got?” SOF Nos. 41, 42.

       To perform the one-leg stand test, Officer Winters instructed Galanakis to “raise either

your left or your right foot, whichever one you want, and raise it approximately 6 inches off the

ground and keep it parallel to the ground.” SOF No. 43. Officer Winters also demonstrated how

to perform this part of the test. Id. Then, Officer Winters instructed Galanakis to “watch the tip

of your toe, keep your arms down to your side, and count out loud in the following manner.” SOF

No. 44. Before Officer Winters could demonstrate the manner, Galanakis suddenly interrupted

and said, “repeat the instructions.” Id.

       Officer Winters asked Galanakis which instruction he wanted repeated. SOF No. 45.




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Galanakis responded, “so you said 6 seconds, hold it up,” and Officer Winters interjected, “no,

you’re gonna hold your foot approximately 6 inches off the ground, and keep it parallel to the

ground.” Id. Galanakis told Officer Winters to demonstrate the test again, and Officer Winters

demonstrated. SOF No. 46.

               After demonstrating the one-leg stand test a second time, Officer Winters instructed

Galanakis to “keep your arms down to your side, watch the tip of your raised foot, count out loud

in the following manner: 1 thousand 1, 1 thousand 2, 1 thousand 3, 1 thousand 4, so on and so

forth until I tell you to stop.” SOF No. 47. When performing the one-leg stand test, Galanakis did

not count out loud at all. SOF No. 49. So Officer Winters asked, “how did I tell you to count?”

SOF No. 50. Galanakis responded, “1 Mississippi, 2 Mississippi, 3 Mississippi—I honestly forgot

how you told me, but . . . .” Id. Shortly after that, Galanakis told Officer Winters that “it’s

ridiculous.” SOF No. 51.

                        Galanakis’s Finger-to-Nose Field Sobriety Test

       Officer Winters also had Galanakis perform a finger-to-nose field sobriety test, where

Galanakis closes his eyes, tilts his head back, and touches the tip of his nose with the tip of his

finger following Officer Winters’s commands. SOF No. 52. During this test, Galanakis had eye

lid tremors, which indicate impairment and intoxication by drugs or alcohol. SOF Nos. 53, 54.

Galanakis also never properly touched the tip of his nose with the tip of his finger when he was

performing the finger-to-nose test. SOF No. 55.

                         Galanakis’s Preliminary Breath Test (PBT)

       After Galanakis performed the other field sobriety tests, Officer Winters gave him a

preliminary breath test (“PBT”), which tests for impairment and intoxication by alcohol,

exclusively. SOF Nos. 58, 59. The PBT results showed that Galanakis was not impaired by




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alcohol. SOF Nos 60–61.

      Officer Winters’s Question About the Last Time Galanakis Smoked Marijuana

       Following Galanakis’s PBT, Officer Winters asked Galanakis, “when’s the last time you

smoked weed.” SOF No. 62. Galanakis paused and stared off for about 8 to 10 seconds before

answering, “I do not remember that.” SOF No. 62–63. However, Galanakis has never smoked

weed in his life, making his answer seriously suspect. SOF Nos. 64–65.

    Galanakis’s Representations About William Penn University’s Drug Testing Policy

       Previously, in Officer Winters’s police vehicle, Galanakis informed Officer Winters that

Galanakis was a freshman student athlete on the William Penn University (“WPU”) football team.

SOF No. 66. Galanakis also told Officer Winters that because Galanakis is on the WPU football

team, he “get[s] tested every Friday” for drugs. SOF No. 67.

       However, Officer Winters believed Galanakis was not being truthful when he represented

that he was drug tested every Friday as a member of the WPU Football team because Officer

Winters knew WPU participated in the National Association of Intercollegiate Athletics (“NAIA”)

and that the NAIA’s drug testing polices only subjected football players to drug testing before a

championship game—not on a weekly basis. SOF No. 68. Officer Winters also questioned the

truthfulness of Galanakis’s assertion because Officer Winters knew the NAIA drug testing policies

did not subject every player on a particular football team to weekly drug testing, as Galanakis

suggested. SOF No. 69. Officer Winters knew that the NAIA drug testing polices instead provided

for selection of football players for drug testing before a championship game either randomly or

on the basis of playing time or position. Id.

       In fact, Officer Winters’s understanding of the NAIA’s drug testing policies and procedures

is consistent with its current drug testing policies. SOF No. 70. And Galanakis’s assertion that he




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got drug tested every Friday is inconsistent with WPU’s Drug Education and Testing Program

Policy, which states that the “athletic department, through Drug Free Sport, will conduct random

institutional drug testing of all athletic teams.” SOF No. 71 (emphasis added).

         Also, Galanakis was never drug tested as a member of the WPU Football team. SOF No.

72.

                             Galanakis’s Demeanor and Emotions

         Throughout his interactions with Officer Winters, Galanakis made several antagonizing

comments, like “you a rookie bro,” “this your first year?”, “how many false accusations you got?”,

and “this is about to be your first” false accusation. SOF Nos. 78–81. He also called Officer

Winters a “dumbass.” SOF No. 82.

                         Officer Winters Arrested Galanakis for OWI

         Ultimately, Officer Winters arrested Galanakis for OWI in violation of Iowa Code section

321J.2. SOF No. 84.

                                   Galanakis’s Legal Claims

         Now, Galanakis claims Officer Winters and Lieutenant Wing arrested him without

probable cause in violation of the Fourth Amendment to the United States Constitution and in

violation of article I, section 8 of the Iowa Constitution. Doc. 1-1 at 7, 9. Galanakis also claims

Officer Winters and Lieutenant Wing falsely arrested him in violation of Iowa common law. Doc.

1-1 at 14.

         In addition to his claims against Officer Winters and Lieutenant Wing, Galanakis claims

Chief Burdess is individually liable for Officer Winters’s and Lieutenant Wing’s alleged Fourth

Amendment violation because Chief Burdess did not properly train and supervise them. Doc. 1-1

at 11–12. Galanakis also claims Chief Burdess’s training and supervision was negligent in




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violation of Iowa common law. Doc. 1-1 at 16.

       Finally, Galanakis claims the City is liable for Officer Winters’s and Lieutenant Wing’s

alleged Fourth Amendment violation under Monell v. Dep’t of Soc. Servs., 436 U.S. 658 (1978),

and he claims the City negligently supervised and trained Officer Winters and Lieutenant Wing in

violation of Iowa common law. He claims the City is otherwise liable for their violations of Iowa

state law under a theory of respondeat superior. Doc. 1-1 at 11, 17.

                                       III. ARGUMENT

       The Court should grant Officer Winters, Lieutenant Wing, and Chief Burdess summary

judgment on all the claims asserted against them in their individual capacities because they are

entitled to federal and state qualified immunity. The Court should also grant the City summary

judgment because Galanakis lacks sufficient evidence to prove the City is liable for the claims

brought under 42 U.S.C. § 1983 and Iowa state law, and because the City is otherwise immune

from liability under Iowa Code section 670.4A.2.

        A. Officer Winters and Lieutenant Wing are Entitled to Qualified Immunity

       Officer Winters and Lieutenant Wing are entitled to federal qualified immunity on

Galanakis’s Fourth Amendment claim brought under 42 U.S.C. § 1983 because Galanakis cannot

show that they lacked probable cause to believe Galanakis committed OWI in violation of Iowa

Code section 321J.2. Nor can Galanakis demonstrate that the alleged lack of probable cause was

clearly established.

       Similarly, Officer Winters and Lieutenant Wing are entitled to state qualified immunity on

Galanakis’s claim under article I, section 8 of the Iowa Constitution and his Iowa common law

false arrest claim because Galanakis lacks sufficient evidence to support these claims, and because

the claimed violations were not clearly established.




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                                1. Federal Qualified Immunity

       Law enforcement officers are entitled to federal qualified immunity unless (1) “the facts,

viewed in the light most favorable to the plaintiff, demonstrate a constitutional or statutory

deprivation,” and (2) “the right was clearly established at the time.” Nieters v. Holtan, 83 F.4th

1099, 1105 (8th Cir. 2023).

       “Clearly established means that at the time of the officer’s conduct, the law was sufficiently

clear that every reasonable official would understand that what he is doing is unlawful.” District

of Columbia v. Wesby, 583 U.S. 48, 63 (2018) (cleaned up). So, to be clearly established, “existing

law must have placed the constitutionality of the officer’s conduct ‘beyond debate.’” Id. (quoting

Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011). That is, existing precedent in the form of

“controlling authority” or “a robust consensus of cases of persuasive authority” must show that it

is beyond debate that the officer’s conduct was unconstitutional. See id.

       Importantly, the Supreme Court has “repeatedly stressed that courts must not define clearly

established law at a high level of generality” because “doing so avoids the crucial question whether

the official acted reasonably in the particular circumstances that he or she faced.” Id. at 63–64

(emphasis added). Instead, courts must apply the “clearly established standard” in a way that

“requires that the legal principle clearly prohibit the officer’s conduct in the particular

circumstances before him.” Id. at 63 (emphasis added).           This “requires a high degree of

specificity” that is “especially important in the Fourth Amendment context.” Id. at 63–64 (cleaned

up).

       In this case, Officer Winters and Lieutenant Wing are entitled to qualified immunity

because Galanakis cannot meet his burden of showing they violated Galanakis’s clearly

established Fourth Amendment right against arrest without probable cause.




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       First, Galanakis cannot show that Officer Winters or Lieutenant Wing violated the Fourth

Amendment. “A warrantless arrest is unreasonable and violates the Fourth Amendment unless it

is supported by probable cause.” Nieters, 83 F.4th 1099, 1105 (8th Cir. 2023) (internal quotation

marks omitted). Probable cause exists “when the totality of the circumstances at the time of the

arrest are sufficient to lead a reasonable person to believe that the defendant has committed or

committing an offense.” Ehlers v. City of Rapid City, 846 F.3d 1002, 1009 (8th Cir. 2017).

       “[P]robable cause requires only a probability or substantial chance of criminal activity, not

an actual showing of such activity.” Nieters, 83 F.4th at 1105–1106 (quoting Illinois v. Gates, 462

U.S. 213, 243 n.13 (1983). And officers get “substantial latitude in interpreting and drawing

inferences from factual circumstances.” Bell v. Neukirch, 979 F.3d 594, 603 (8th Cir. 2020).

       Here, Officer Winters arrested Galanakis for OWI in violation of Iowa Code section

321J.2, and Galanakis cannot demonstrate with sufficient evidence that Officer Winters lacked

probable cause to do so. Section 321J.2 prohibits operating a motor vehicle “[w]hile under the

influence of an alcoholic beverage or other drug or combination of such substances.” Iowa Code

§ 321J.2.1. After Officer Winters stopped Galanakis, Galanakis could not produce his registration

and proof of insurance without Officer Winters’s help. SOF Nos. 6–11. When Galanakis first

retrieved two documents, he asked Officer Winters “is it one of these right here?”, and Officer

Winters had to tell him “that’s the registration.” SOF Nos. 6–7. Even after examining both

documents for 5 or 6 seconds, Galanakis failed to distinguish between the expired and current

registrations and said, “here, I’ll just give you both of them.” SOF No. 7. Then, Officer Winters

had to remind Galanakis to provide proof of insurance. SOF No. 9. Again, Galanakis asked for

Officer Winters’s help to identify his proof of insurances by asking “would it be that white card?”

SOF No. 10. And before Galanakis eventually produced a current copy of his proof of insurance,




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he showed Officer Winters an expired proof of insurance, and Officer Winters had to tell him

“that’s one that expired in ’21.” SOF No. 10. Further, it took Galanakis approximately 3 minutes

to provide Officer Winters his license, registration, and proof of insurance. SOF No. 11.

       Galanakis also failed three different field sobriety tests and could not remember or follow

basic instructions. SOF Nos. 17–57. He failed the walk-and-turn test in several ways, including

by taking well over the instructed 9 steps on the first and second sets of 9 steps, by not counting

his steps out loud, by asking Officer Winters to tell him when to turn, and by asking Officer

Winters how to turn in the middle of the test. SOF Nos. 17–38. In fact, Galanakis could not even

recall Officer Winters’s instructions on the number of steps to take and when to turn. SOF Nos.

37–38. Galanakis also failed the one-leg stand test by not counting out loud, and he again could

not remember Officer Winters’s simple instructions on how to count. SOF Nos. 47–50. He

misstated Officer Winters’s instructions on the one-leg stand test twice. SOF Nos. 45, 47–50.

Galanakis also failed the finger-to-nose by exhibiting eye lid tremors and failing to properly touch

the tip of his nose with the tip of his finger. SOF Nos. 52–55.

       Three failed field sobriety tests coupled with the inability to provide registration and proof

of insurance without help were sufficient probable cause to suspect Galanakis of OWI. See State

v. Lowry, 690 N.W.2d 700, at *3 (Iowa Ct. App. 2004) (Table) (“The officer could reasonably rely

on the [field sobriety] test results as an indicator of whether or not defendant was under the

influence of an intoxicant.”); see also id. at 2 (concluding “slow and uncoordinated” movements

indicate intoxication). But Officer Winters had even more facts to support his probable cause

conclusion. When Officer Winters asked Galanakis when he last smoked marijuana, Galanakis

awkwardly stared off for 8 or 10 seconds before saying “I do not remember that,” which is even

more awkward in light of the fact that he has never smoked marijuana before. SOF Nos. 62–65.




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Further, Officer Winters had good reason to believe Galanakis lied when he said WPU drug tested

him every Friday, because Officer Winters knew that the applicable NAIA drug testing policies

only subjected football players, like Galanakis, to drug testing before a championship game. SOF

Nos. 66–72. In fact, Galanakis’s representation that WPU drug tested football players every Friday

is inconsistent with the University’s current policies. Id.

       On top of all that, Galanakis’s mood and demeanor changed from cooperative to emotional

and antagonistic. He said things to Officer Winters like “you a rookie bro,” “this your first year?”,

“how many false accusations you got?”, and “this is about to be your first” false accusation. SOF

Nos. 78–81. He also called Officer Winters a “dumbass.” SOF No. 82.

       The totality of all these circumstances were sufficient to lead a reasonable person to believe

that Galanakis committed OWI. And as a result, Officer Winters had probable cause to arrest

Galanakis, entitling him and Lieutenant Wing to qualified immunity. See Ehlers, 846 F.3d at 1009.

With respect to Lieutenant Wing, Galanakis cannot even show that he made the arrest decision,

meaning he may be separately entitled to qualified immunity on this basis alone because he did

not violate the Fourth Amendment.

       Second, Galanakis cannot satisfy the clearly established prong of the qualified immunity

analysis because he cannot point to any controlling authority or a robust consensus of persuasive

authority showing it was beyond debate that Officer Winters’s or Lieutenant Wing’s conduct under

the particular circumstances was unconstitutional. Wesby, 583 U.S. 48, 63 (2018).

       “Even without probable cause, an officer will be entitled to qualified immunity if there is

at least arguable probable cause.” Nieters, 83 F.4th at 1106 (cleaned up). That is, when “an officer

mistakenly arrests a suspect believing the arrest is based in probable cause,” they are still entitled

to qualified immunity “if the mistake is objectively reasonable.” Id. (cleaned up).




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         As discussed above, the totality of the circumstances provided overwhelming probable

cause to believe Galanakis committed OWI. But even if not, it was at least arguable. And to show

otherwise, Galanakis would need to point to controlling authority or a broad consensus of

persuasive authority showing it was beyond debate that arresting Galanakis under all the

circumstances violated the Fourth Amendment. He cannot do that.

         Because Galanakis cannot demonstrate, with evidence, that Officer Winters and Lieutenant

Wing violated his clearly established Fourth Amendment right against arrest without probable

cause, Officer Winters and Lieutenant Wing are entitled to federal qualified immunity.

                                        B. State Qualified Immunity

         For the same material reasons they are entitled to federal qualified immunity, Officer

Winters and Lieutenant Wing are entitled to state qualified immunity on Galanakis’s claims for

arrest without probable cause under article I, section 8 of the Iowa Constitution and false arrest

under Iowa common law.

         Iowa Code section 670.4A.1.a. states that officers “subject to a claim brought under this

chapter” 1 are not liable for damages if “[t]he right, privilege, or immunity secured by law was not

clearly established at the time of the alleged deprivation, or at the time of the alleged deprivation

the state of the law was not sufficiently clear that every reasonable employee would have

understood that the conduct alleged constituted a violation of law.” Iowa Code § 670.4A.1.a. This

language tracks the language the U.S. Supreme Court has used to articulate federal qualified

immunity. Dunn v. Doe 1–22, __ F. Supp. 3d __, 2023 WL 3081611, at *16 (S.D. Iowa 2023). It

is therefore plainly apparent that “the Iowa Legislature [adopted] a state law version of qualified



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  “[C]laim[s] brought under this chapter” includes claims for violations of rights under the Iowa Constitution and false
arrest under Iowa common law. See Iowa Code §§ 670.2.1 & 670.1.4; Strong v. Town of Lansing, 179 N.W.2d 365
(Iowa 1970).



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immunity that tracks the qualified immunity doctrine as it exists under federal law.” Id.

       Further, like the qualified immunity analysis, the analysis of Galanakis’s claim for arrest

without probable cause under Article I, section 8 of the Iowa Constitution will be materially the

same as the analysis of his Fourth Amendment claim. See Dunn, 2023 WL 3081611, at *19–20.

Article I, section 8 protects against unlawful seizures, including arrests without probable cause.

See Baldwin v. City of Estherville, 915 N.W.2d 259, 272–273, 279 (Iowa 2018). And because the

language of article I, section 8 is almost identical to the language of the Fourth Amendment, the

Iowa Supreme Court generally interprets the scope of article I, section 8’s seizure provisions to

track the Fourth Amendment. Dunn, 2023 WL 3081611, at *19 (citing State v. Brown, 930 N.W.2d

840, 847 (Iowa 2019)). So like the Fourth Amendment, article I, section 8 prohibits warrantless

arrests without probable cause, and “[p]robable cause exists when the facts and circumstances

within the arresting officer’s knowledge would warrant a person of reasonable caution to believe

that a crime is being committed.” Id. (citing State v. Christopher, 757 N.W.2d 247, 250 (Iowa

2008) and quoting State v. Harris, 490 N.W.2d 561, 563 (Iowa 1992)). This analysis is materially

similar to the analysis of Galanakis’s Fourth Amendment claim.

       Similarly, the analysis of Galanakis’s false arrest claim under Iowa common law will also

be materially the same as the analysis of his Fourth Amendment and article I, section 8 claims.

False arrest is the detention or restraint of a person against their will and in violation of the law.

See Dunn, 2023 WL 3081611, at *20 (citing Thomas v. Marion County, 652 N.W.2d 183, 186

(Iowa 2002)). Under Iowa Code section 804.7.1.c., it is lawful for an officer to arrest someone if

the “officer has reasonable grounds for believing that an indictable public offense has been

committed and has reasonable grounds for believing that the person to be arrested has committed

it.” Iowa Code § 804.7.1.c. (emphasis added). “‘Reasonable ground’ as used in section 804.7 is




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‘equivalent to traditional probable cause.’” Dunn, 2023 WL 3081611, at *20 (quoting Kraft v.

City of Bettendorf, 359 N.W.2d 466, 469 (Iowa 1984)). And although an arrest that complies with

the Fourth Amendment does not “automatically” satisfy section 804.7, Iowa law imposes a “less

demanding probable cause standard to civil false arrest claims than to those raised in connection

with a criminal prosecution.” Dunn, 2023 WL 3081611, at *20 (internal quotation marks omitted).

As long as “the officer acts in good faith and with reasonable belief that a crime has been

committed and the person arrested committed it, his actions are justified and liability does not

attach.” Id. (quoting Children v. Burton, 331 N.W.2d 673, 680 (Iowa 1983)). This analysis is

materially similar to the analysis of Galanakis’s Fourth Amendment claim.

       So, because Iowa’s state qualified immunity analysis tracks federal qualified immunity,

and because the analysis of Galanakis’s state law claims for arrest without probable cause and false

arrest is materially the same as the analysis of Galanakis’s Fourth Amendment claim, Officer

Winters and Lieutenant Wing are entitled to qualified immunity under Iowa Code section

670.4A.1.a. for the same material reasons they are entitled to federal qualified immunity.

       Galanakis was unable to provide his registration and proof of insurance without Officer

Winters’s help, he failed to properly perform three different properly administered field sobriety

tests, he could not tell Officer Winters the last time he smoked marijuana—despite having never

smoked marijuana—he inaccurately told Officer Winters that he was drug tested every Friday, and

he made several antagonizing comments toward Officer Winters. SOF Nos. 6–83. Taken together,

all this was more than enough to support probable cause and a good faith reasonable belief that

Galanakis committed OWI in violation of Iowa Code section 321J.2. His arrest was therefore

lawful under the Iowa Constitution and Iowa common law.

       But even if Galanakis’s arrest was somehow not technically lawful, Officer Winters and




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Lieutenant Wing would still be entitled to qualified immunity because Galanakis cannot

demonstrate that it was clearly established that his arrest was unlawful. See Nieters, 83 F.4th at

1105. To do so, Galanakis must to point to controlling authority or a broad consensus of persuasive

authority showing it was beyond debate and not even arguable that arresting Galanakis was

unlawful given the particular circumstances. See Wesby, 583 U.S. at 63–64. Galanakis cannot

meet this burden.

       Therefore, in addition to federal qualified immunity on Galanakis’s Fourth Amendment

claim, Officer Winters and Lieutenant Wing are entitled to state qualified immunity on Galanakis’s

claims under Iowa state law.

           B. Chief Burdess is Entitled to Federal and State Qualified Immunity

       Galanakis asserts two claims against Chief Burdess, one for supervisory liability under 42

U.S.C. § 1983 and one for negligent supervision and training under Iowa common law. Chief

Burdess is entitled to federal and state qualified immunity on these claims because Galanakis

cannot demonstrate, with sufficient evidence, a violation of law that was clearly established under

then-existing precedent.

       A supervisor is liable under § 1983 for the constitutional violations of his subordinates if

his failure to properly supervise and train the subordinate caused the constitutional violation. See

Jackson v. Nixon, 747 F.3d 537, 543, (8th Cir. 2014). However, when a supervising officer did

not directly participate in the alleged constitutional violation and is sued for failure to train or

supervise the offending officer, “the supervisor is entitled to qualified immunity unless plaintiff

proves that the supervisor (1) received notice of a pattern of unconstitutional acts committed by a

subordinate, and (2) was deliberately indifferent to or authorized those acts.” S.M. v. Krigbaum,

808 F.3d 335, 340 (8th Cir. 2015); see also Sturgeon v. Faughn, 36 F.4th 804, 809 (8th Cir. 2022).




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“Deliberate indifference is a subjective standard that entails a level of culpability equal to the

criminal law definition of recklessness.” Krigbaum, 808 F.3d at 340 (cleaned up). Ultimately,

“[t]o be deliberately indifferent, an official must both be aware of facts from which the inference

could be drawn that a substantial risk of unconstitutional harm exists, and he must also draw the

inference.” Sturgeon, 36 F.4th at 809 (cleaned up).

       Here, Galanakis lacks sufficient evidence to show that Chief Burdess knew about a pattern

of unconstitutional behavior by Officers Winters or Lieutenant Wing. He also necessarily lacks

any evidence that Chief Burdess was deliberately indifferent to the nonexistent pattern. Without

sufficient evidence of these two things, Chief Burdess is entitled to federal qualified immunity and

summary judgment on Galanakis’s § 1983 claim based on supervisory liability.

       Chief Burdess is also entitled to state qualified immunity on Galanakis’s negligent

supervision and training claim under Iowa common law. First, as a matter of Iowa law, Galanakis

cannot maintain this claim against Chief Burdess, individually, and can only assert it against the

City. That is because negligent supervision and training under Iowa law is “premised on agency

principles and imposes on an employer the duty to exercise reasonable care in . . . supervising . . .

individuals, who, because of their employment, may pose a threat of injury to members of the

public.” McCoy v. Thomas L. Cardella & Assocs., 992 N.W.2d 223, 228 (Iowa 2023). Chief

Burdess is not an employer. So, Galanakis’s negligent hiring and supervision claim against him

fails as a matter of Iowa law. See id. Second, even if this claim were existed against Chief Burdess,

Galanakis lacks sufficient evidence to prove it, and he cannot demonstrate that controlling

authority or a consensus of persuasive authority put it beyond debate that Chief Burdess’s conduct,

specifically, amounted to negligence.

       Chief Burdess is therefore entitled to qualified immunity and summary judgment on




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Galanakis’s claims for supervisory liability under 42 U.S.C. § 1983 and for negligent supervision

and training under Iowa common law.

        C. The City is Entitled to Summary Judgment on Galanakis’s Monell Claim
                         and on His State Claims Under Iowa Law

       Galanakis claims the City is liable for the violation of his Fourth Amendment right against

arrest without probable cause under § 1983 and Monell v. Department of Social Services, 436 U.S.

658 (1978). He also claims the City negligently supervised and trained Officer Winters and

Lieutenant Wing and that the City is otherwise liable for their conduct on a theory of respondeat

superior. The Court should grant summary judgment to the City on all these claims.

       Galanakis lacks sufficient evidence to support Monell liability against the City. Under

Monell, “[s]ection 1983 liability for a constitutional violation may attach to a municipality if the

violation resulted from (1) an official municipal policy, (2) an unofficial custom, or (3) a

deliberately indifferent failure to train or supervise.” Corwin v. City of Independence, 829 F.3d

695, 699 (8th Cir. 2016) (cleaned up). A policy is “an official policy, a deliberate choice of a

guiding principle or procedure made by the municipal official who has final authority regarding

such matters.” Id. at 700 (cleaned up). And an unofficial custom is “a continuing, widespread,

persistent pattern of unconstitutional misconduct by the [municipality’s] employees.” See Johnson

v. Douglas Cnty. Med. Dep’t, 725 F.3d 825, 828 (8th Cir. 2013).

       Galanakis’s Monell claim fails because, as discussed above, he lacks sufficient evidence to

support his underlying Fourth Amendment claims against Officer Winters and Lieutenant Wing.

See McCoy v. City of Monticello, 411 F.3d 920, 922 (8th Cir. 2005) (“[I]n order for municipal

liability to attach, individual liability first must be found on an underlying substantive claim.”).

Based on the evidence, there was probable cause to believe Galanakis committed OWI. His Monell

claim also fails because he cannot identify a single City official policy or unofficial custom that




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caused his alleged Fourth Amendment violation. Nor can he show, with evidence, that the City

was deliberately indifferent in failing to train or supervise its officers. Galanakis therefore lacks

sufficient evidence to support his Monell claim, and the Court should grant summary judgment on

this claim.

       Galanakis similarly lacks sufficient evidence to support his negligent supervision and

training claim under Iowa law because he cannot demonstrate the requisite underlying tort or

wrongful act. “[T]he torts of negligent hiring, supervision, or training must include as an element

an underlying tort or wrongful act committed by the employee.” Schoff v. Combined Ins. Co. of

Am., 604 N.W. 2d 43, 53 (Iowa 1999) (internal quotation marks omitted). For the reasons

previously discussed, Galanakis lacks enough evidence to show that Officer Winters, Lieutenant

Wing, or Chief Burdess violated the U.S. Constitution, the Iowa Constitution, or any other federal

or state law. And even if he had enough evidence to make that showing, he then lacks evidence to

show the City’s supervision or training was negligent and cause the underlying violation. The

Court should therefore grant summary judgment on Galanakis’s negligent supervision and training

claim against the City.

       Finally, the City is immune from liability on any claim “where [Officer Winters, Lieutenant

Wing, or Chief Burdess] was determined to be protected by qualified immunity.” Iowa Code §

670.4A.2. So because Officer Winters, Lieutenant Wing, and Chief Burdess are entitled to state

qualified immunity on Galanakis’s state claims against them in their individual capacities, the City

is immune to those claims under Iowa Code section 670.4A.2.

                                       IV. CONCLUSION

       For these reasons, the Court should grant Officer Winters, Lieutenant Wing, and Chief

Burdess summary judgment on all the claims asserted against them in their individual capacities




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because they are entitled to federal and state qualified immunity. The Court should also grant the

City summary judgment because Galanakis lacks sufficient evidence to prove the City is liable for

the claims brought under 42 U.S.C. § 1983 and Iowa state law, and because the City is otherwise

immune from liability under Iowa Code section 670.4A.2.

       Dated: December 6, 2023.

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                                CERTIFICATE OF SERVICE

        I hereby certify that on December 6, 2023, a true copy of the foregoing BRIEF IN
SUPPORT OF DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT was electronically
filed using the Court’s CM/ECF system, which sent notice to counsel of record, as follows:

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